  Case 2:17-cv-00144-LGW-BWC Document 44 Filed 05/07/19 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


 STACY MILLER,

                Plaintiff,                                  CIVIL ACTION NO.: 2:17-cv-144

         v.

 CITY OF DARIEN; DONNIE HOWARD;
 RYAN ALEXANDER; and ARCHIE DAVIS,

                Defendants.


                              AMENDED SCHEDULING ORDER

       This matter is before the Court on the parties’ Joint Motion to Extend Discovery and all

Remaining Deadlines. Doc. 43. The parties ask the Court to extend all discovery deadlines by

14 days because of recently-produced audio recordings. Id. The Court finds that good cause

exists to extend discovery and GRANTS the parties’ Motion. The following deadlines shall

apply in this matter.

       These deadlines shall not be extended except upon a specific showing of good cause and

order of the Court. Fed. R. Civ. P. 16(b)(4). It is the Court’s expectation that the parties will

not need an extension of these deadlines. The showing of good cause necessary to obtain an

extension of any of these deadlines requires a specific showing of what the parties have

accomplished to date in discovery, what remains to be accomplished, and why the parties have

not been able to meet the Court’s deadlines. Bare boilerplate assertions such as “the parties

have diligently pursued discovery to date, but additional time is necessary” will not suffice to

establish good cause.
    Case 2:17-cv-00144-LGW-BWC Document 44 Filed 05/07/19 Page 2 of 3



        Additionally, should any party seek an extension of these deadlines or seek the extension

of any other deadline in this case (including an extension of a deadline to respond to a motion or

file any other pleading), the party should first contact all other parties and determine if the other

parties join in, consent to, or oppose the request for an extension. When filing the motion for an

extension, the party requesting the extension must state in their motion for an extension whether

the other parties join in, consent to, or oppose the request for an extension.



DISCOVERY DEPOSITIONS OF WITNESSES WHO
HAVE NOT BEEN DESIGNATED AS EXPERTS                                                       May 20, 2019


POST-DISCOVERY STATUS REPORT DUE 1                                                        May 24, 2019


DISCOVERY STATUS CONFERENCE                                                               May 29, 2019


LAST DAY FOR FILING ALL CIVIL MOTIONS,
INCLUDING DAUBERT MOTIONS, BUT
EXCLUDING MOTIONS IN LIMINE                                                               June 10, 2019


DEPOSITIONS OF ALL WITNESSES (WHETHER FACT
OR EXPERT) THAT ARE DE BEN ESSE DEPOSITIONS
AND TAKEN NOT FOR DISCOVERY BUT FOR USE
AT TRIAL                                                                                  July 19, 2019


PRE-TRIAL ORDER DUE                                                                    August 19, 2019




1
        A Status Report Form is available on the Court’s website www.gasd.uscourts.gov under “forms.”
The parties are directed to use the content and format contained in this Form when reporting to the Court.


                                                    2
Case 2:17-cv-00144-LGW-BWC Document 44 Filed 05/07/19 Page 3 of 3



   All other instructions in the Court’s January 1, 2019 Order remain in full force and effect.

   SO ORDERED, this 7th day of May, 2019.




                                 ____________________________________
                                 BENJAMIN W. CHEESBRO
                                 UNITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA




                                            3
